   Case: 1:18-cv-06447 Document #: 101 Filed: 02/17/21 Page 1 of 1 PageID #:911




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION



 MALIBU MEDIA, LLC,
                                    Case No. 1:18-cv-06447
             Plaintiff,
                                   Judge Thomas M. Durkin
    v.

 WILLIAM MULLINS,

               Defendant.

                          JUDGMENT IN A CIVIL CASE


Judgment is hereby entered:

       In favor of Defendant/Counter-Plaintiff William Mullins, the prevailing
party under 17 U.S.C § 505, and against Plaintiff/Counter-Defendant Malibu
Media in the amount of $46,235.45 in costs and attorneys’ fees, which does not
include pre-judgment interest.

Post-judgment interest accrues on that amount, at the rate provided by law from the
date of this judgment.

This action was decided by Judge Thomas M. Durkin on his order re: motion for
costs and attorneys’ fees (Docket 99).


Date: February 17, 2021                      Thomas G. Bruton, Clerk of Court

                                             Emily Wall, Deputy Clerk




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